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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA,                         *

       v.                                         *                       CIVIL NO. JKB-17-0099

BALTIMORE POLICE DEP’T et al.,                    *

       Defendants.                                *

       *       *         *     *      *       *       *       *       *       *       *       *

                                   MEMORANDUM & ORDER

       The Court has reviewed the consent motion requesting a continuance of all dates and

deadlines in this matter pending resolution of a funding dispute involving the executive and

legislative branches of the Federal Government (ECF No. 172). This financial matter is a

dispute internal to one party, the Federal Government. In that sense it is similar to one that

erupted between elements of the City Government previously. In the previous instance the Court

advised the City to resolve its internal disputes and otherwise move ahead in its implementation

efforts without delay.       The Court has similar expectations with respect to the Federal

Government’s attorneys in this instance — they are required to find the means by which to

continue their participation in this litigation on a timely basis regardless of their client’s internal

issues. Deeply serious matters involving the safety and well-being of the citizens of Baltimore

are at issue in this case, and the Court is determined that implementation of the previously

entered consent decree will not be impaired or delayed by this sort of collateral issue that is

internal to one party.

       The motion (ECF No. 172) is DENIED.
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DATED this 26th day of December, 2018.


                                             BY THE COURT:


                                                          /s/
                                             James K. Bredar
                                             Chief Judge




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